Case 1:05-cr-100l4-.]DT Document 29 Filed 07/28/05 Page 1 of 2 Pa,g<e|D 28

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IN THE UNITED STATES DISTRICT cOURT ¢Hg 00
FOR THE wEsTERN DIsTRIcT oF TENNESSEE QM`HFW P /. ~
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UNITED STATES OF AMERICA "%Q%§H%L@
t f
vs. cR NO. 1:05-10014-01-§%”

VANSESSA HARVEY
ORDER TO SURRENDER

Defendant, Vansessa Harvey, #19930-076, having been
sentenced in the above styled matter to the custody of the Bureau
of Prisons, and having been granted leave by the Court to report to
the designated institution at her own expense, is hereby ordered to
surrender herself to the Bureau of Prisons by reporting to:

FMC Lexington SCP, 3301 Leestown Road, Lexington, KY 40511;
(Telephone #859-255-6812) no later than 12:00 Noon on Wednesday,
August 31, 2005.

It is further ordered that upon receipt of a copy of this
order, the defendant shall sign and return the copy, to acknowledge
receipt of said order and that she Will report as directed to the
above named institution.

IT IS ORDERED. %MA a ; 2 Z :Z

JAME fD. TODD
UNI D STATES DISTRICT JUDGE

DATE: ;}dz §YM¢VT'S¢HQS‘/
L/ I

ACKNOWLEDGMENT TO BE SIGNED BY THE DEFENDANT: I agree to report as
directed in the above order and understand that if I fail to so
report, I may be cited for contempt of court and if convicted, may
be punished by imprisonment or fine or both.

 

 

Date Defendant Signature

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COURT - WESTERN

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Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 1:05-CR-100]4 Was distributed by faX, mail, or direct printing on
July 29, 2005 to the parties listed.

 

J ames W. PoWell

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FEDERAL PUBLIC DEFENDER
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Honorable J ames Todd
US DISTRICT COURT

